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                           IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF KANSAS

 UNITED STATES OF AMERICA,

                                   Plaintiff,
                     v.                                     Civil No. 19-2433

 NICHOLE LAMB, a/k/a NICHOLE S.
 LAMB-STOWE and THE UNKNOWN
 SPOUSE OF NICHOLE LAMB, a/k/a
 NICHOLE S. LAMB-STOWE,

                                   Defendants.


                                                COMPLAINT

        COMES NOW the United States of America, by Stephen R. McAllister, United States

Attorney for the District of Kansas, and Andrea L. Taylor, Assistant United States Attorney, and

for its cause of action alleges:

        1.      This is a civil action for foreclosure of a Mortgage brought by the United States of

America under the provisions of 28 U.S.C. § 1345.

        2.      Service may be made upon the Defendants in the following manner:

                a.        Nichole Lamb, a/k/a Nichole S. Lamb-Stowe, may be served by delivering

                          the Summons and a copy of the Complaint to her at 17141 Jessica Street,

                          Gardner, KS 66030, within the jurisdiction of this Court.

                b.        The Unknown Spouse of Nichole Lamb, a/k/a Nichole S. Lamb-Stowe,

                          may be served by publication since his address is unknown.

        3.      Defendant Nichole Lamb, a/k/a Nichole S. Lamb-Stowe, executed and delivered

to Plaintiff, acting through the Rural Housing Service, United States Department of Agriculture,

a promissory note on November 12, 2009, in which she promised to pay Plaintiff the principal
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amount of $149,910.00, together with interest thereon at the rate of 4.8750 percent (4.8750%)

per annum on the unpaid balance. As consideration for this note, Plaintiff made a Rural Housing

loan to Defendant Nichole Lamb, a/k/a Nichole S. Lamb-Stowe, pursuant to the provisions of

Title V of the Housing Act of 1949 (42 U.S.C. § 1471, et seq.). A true and correct copy of the

Promissory Note is attached as Exhibit A.

       4.      To secure the payment of the indebtedness, Defendant Nichole Lamb, a/k/a

Nichole S. Lamb-Stowe, did, on November 12, 2009, execute and deliver a purchase-money

security interest in the form of a real estate mortgage upon certain real estate located in Johnson

County, Kansas, within the jurisdiction of this Court, described as follows:

               Lot 101, St. Johns Trace II, A subdivision in the City of Gardner,
               Johnson County, Kansas.

       5.      This real estate mortgage was filed for record on November 16, 2009, in the office

of the Register of Deeds of Johnson County, Kansas, in Book 200911 at Pages 004089. A true

and correct copy of the Mortgage is attached as Exhibit B.

       6.      Pursuant to the Housing Act of 1949, as amended, 42 U.S.C. ' 1490a, and the

implementing regulations, 7 C.F.R. 3550.162, the Real Estate Mortgage also secures the

recapture of interest credit or subsidy granted to Defendant Nichole Lamb, a/k/a Nichole S.

Lamb-Stowe. The total amount of interest credit or subsidy subject to recapture is $10,615.46,

such amount to be recovered in rem only, and only after recovery of the principal (including

advances and other recoverable costs) and accrued interest through the date of any judgment. A

true and correct copy of the Subsidy Repayment Agreement is attached as Exhibit C.

       7.      Plaintiff is the owner and holder of the liability and security documents as set out

above, attached as Exhibits A-C.




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          8.    Defendant Nichole Lamb, a/k/a Nichole S. Lamb-Stowe, failed to pay Plaintiff

installments of principal and interest when due in violation of the provisions of the liability and

security documents set out above. Plaintiff has elected to exercise its option to declare the entire

unpaid principal balance plus interest to be immediately due and payable and has made demand

for these amounts. No payment has been received.

          9.    Defendant Nichole Lamb, a/k/a Nichole S. Lamb-Stowe, filed Chapter 13

bankruptcy in the United States Bankruptcy Court for the District of Kansas in Case No. 13-

20314. Defendant Nichole Lamb, a/k/a Nichole S. Lamb-Stowe, received a discharge on

November 22, 2017.

          10.   The amount due on the promissory note and mortgage is principal in the amount

of $155,251.44 (including unpaid principal of $141,111.04, escrow replenish of $13,818.25,

agency title report fees of $250.00, and late fees of $72.15) as of November 7, 2018; plus interest

in the amount of $35,643.85 (including interest on principal of $34,904.76 and interest on

advances of $739.09) accrued to November 7, 2018; plus interest accruing thereafter at the daily

rate of $20.7260 (including daily interest on principal of $18.8470 and daily interest on advances

of $1.8790) to the date of judgment; plus administrative costs (including the lis pendens filing

fee and title report expenses) pursuant to the promissory note and mortgage; plus filing fees in

the amount of $400.00 allowed pursuant to 28 U.S.C. § 2412(a)(2); plus interest thereafter at the

rate set forth in 28 U.S.C. § 1961; plus court costs and the costs of this action presently and in

the future incurred. Plaintiff also demands in rem judgment in the amount of $10,615.46 for

interest credit or subsidy subject to recapture; plus interest after the date of judgment at the rate

set forth in 28 U.S.C. § 1961; and foreclosure of the Defendants' interests in the subject real

estate.



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        11.      No other action has been brought for recovery of these sums and no payment has

been received.

        12.      Plaintiff has completed all loan servicing requirements of Title V of the Housing

Act of 1949 (42 U.S.C. § 1471, et seq.) and all rules and regulations issued pursuant thereto.

        13.      The Unknown Spouse of Nichole Lamb, a/k/a Nichole S. Lamb-Stowe, may claim

a marital interest in the real estate that is the subject of this action.

        14.      The indebtedness due Plaintiff by Defendant Nichole Lamb, a/k/a Nichole S.

Lamb-Stowe, is a first and prior lien on the property described above.

        15.      The interests of Defendants are junior and inferior to the interests of Plaintiff

United States of America.

        16.      Less than one-third (1/3) of the original indebtedness secured by the mortgage

was paid prior to default.

        WHEREFORE Plaintiff demands an in rem judgment of foreclosure for principal in the

amount of $155,251.44 (including unpaid principal of $141,111.04, escrow replenish of

$13,818.25, agency title report fees of $250.00, and late fees of $72.15) as of November 7, 2018;

plus interest in the amount of $35,643.85 (including interest on principal of $34,904.76 and

interest on advances of $739.09) accrued to November 7, 2018; plus interest accruing thereafter

at the daily rate of $20.7260 (including daily interest on principal of $18.8470 and daily interest

on advances of $1.8790) to the date of judgment; plus administrative costs (including the lis

pendens filing fee and title report expenses) pursuant to the promissory note and mortgage; plus

filing fees in the amount of $400.00 allowed pursuant to 28 U.S.C. § 2412(a)(2); plus interest

thereafter at the rate set forth in 28 U.S.C. § 1961; plus court costs and the costs of this action

presently and in the future incurred.



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       Plaintiff also demands foreclosure of the Defendants' interests in the subject real estate.

       Plaintiff further demands in rem judgment in the amount of $10,615.46 for interest credit

or subsidy subject to recapture; plus interest after the date of judgment at the rate set forth in 28

U.S.C. § 1961.

       Plaintiff further demands that its Mortgage be declared a first and prior lien on the real

estate described herein and that such advances as the Plaintiff may be authorized and required to

pay for insurance premiums, real estate taxes, title fees, or other costs necessary to protect the

security during the pendency of this proceeding be allowed as a first and prior lien on the

security.

       Plaintiff further demands that the United States of America be granted judgment

foreclosing its mortgage on the subject real property and the interests of all Defendants.

       Plaintiff further demands that the judgment granted the United States of America in the

Order and Judgment be the final judgment of this Court.

       Plaintiff further demands that all legal right, title and interest that the Defendants have in

the real estate be foreclosed, and the real estate be sold at public sale to the highest bidder, in

accordance with 28 U.S.C. §§ 2001-2003, inclusive, subject to a redemption period not to exceed

three (3) months, pursuant to the provisions of K.S.A. § 60-2414(m), and that the sale be subject

to any unpaid real estate taxes, special assessments and easements of record.

       Plaintiff further demands that it may bid up to the full amount due it at the time of the

sale without paying funds into the Court, which bid shall satisfy the requirement for a cash sale,

and that the sale proceeds be applied in the following order:

                 (1)   Filing fees in the amount of $400.00 allowed pursuant to 28 U.S.C.
                       § 2412(a)(2);

                 (2)   The costs of this action and the foreclosure sale;

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               (3)     The interest accruing on Plaintiff United States= in rem judgment;

               (4)     Plaintiff United States= in rem judgment;

               (5)     The interest accruing on Plaintiff United States’ in rem judgment
                       for interest credit or subsidy subject to recapture;

               (6)     Plaintiff United States’ in rem judgment for interest credit or
                       subsidy subject to recapture; and,

               (7)     Any remaining balance should be held by the Clerk of the District
                       Court to await the Court’s further order.

       Plaintiff further demands that all right, title, and interest in and to the real estate of the

Defendants, and of all persons claiming by, through or under them be decreed to be junior and

inferior to the Plaintiff's Mortgage and be absolutely barred and foreclosed.

       Plaintiff further prays that, if the grantee named in the United States Marshal’s Deed, or

the grantee’s assigns, are denied possession of the real property, a Writ of Assistance issue out of

this Court to the United States Marshal for the District of Kansas, upon application of the grantee

or assigns, ordering and directing the United States Marshal to place the grantee or assign, in

full, complete, and peaceful possession of the real property.

                                                        Respectfully submitted:

                                                        STEPHEN R. MCALLISTER
                                                        United States Attorney

                                                        s/ Andrea L. Taylor
                                                        ANDREA L. TAYLOR
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                               REQUEST FOR PLACE OF TRIAL

       The United States of America hereby requests that trial of the above-entitled matter be

held in Kansas City, Kansas.

                                                    s/ Andrea L. Taylor
                                                    ANDREA L. TAYLOR
                                                    Assistant United States Attorney




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